Case 2:12-cr-00111-JES-UAM Document 142 Filed 11/16/12 Page 1 of 2 PageID 253




                        theUNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION



UNITED STATES OF AMERICA

VS.                                                CASE NO: 2:12-cr-111-FtM-UASPC

NOE AMARILLAS




                                           ORDER

       This matter comes before the Court on an Initial Appearance and Arraignment on

November 15, 2012. The Defendant was originally arrested in the District of Arizona on an

Indictment that originated from this Court. The Magistrate Judge in that District imposed

Personal Recognizance bond with conditions. The Assistant United States Attorney in this

District moved the Court for reconsideration and a stay on the imposition of the bond. See Doc.

#96. During the hearing, the Government moved to withdraw the Motion and the Court granted

the Government’s Oral Motion to Withdraw.           Further, the Government agreed to the

reinstatement of the bond imposed by the Magistrate Judge in the District of Arizona. Thus,

absent objection, the Court reinstated the Personal Recognizance Bond and conditions of release

originally imposed.

       Accordingly, it is now

       ORDERED:

       The Oral Motion to Withdraw offered by the Government is GRANTED. The Personal

Recognizance Bond imposed by the District of Arizona is hereby reinstated. Therefore, any stay
Case 2:12-cr-00111-JES-UAM Document 142 Filed 11/16/12 Page 2 of 2 PageID 254




of the proceedings is no longer necessary and may be lifted. The Defendant remains subject to

the terms and conditions of his release as previously announced.

       DONE AND ORDERED at Fort Myers, Florida, this 15th day of November, 2012.




Copies:
Counsel of Record
DCCD




                                               2
